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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA



 United States of America,                           Case No. 19-cr-250 (WMW/ECW)

                     Plaintiff,

       v.                                     REPORT AND RECOMMENDATION

 Johnnie Lamar Haynes,

                     Defendant.


      On September 26, 2019, Defendant Johnnie Lamar Haynes (“Haynes” or

“Defendant”) was indicted on two counts of Felon in Possession of a Firearm in violation

of 18 U.S.C. §§ 922(g)(1) and 924(a)(2). (Dkt. 1.) This matter is before the Court on

Defendant’s Motion to Suppress Search and Seizure (Dkt. 35) (“Motion”) and

Defendant’s Supplemental Motion to Suppress Search and Seizure (Dkt. 59)

(“Supplemental Motion”). The Court held a hearing on February 3, 2020, at which the

Government presented two witnesses and offered eight exhibits. Thomas Calhoun-

Lopez, Assistant U.S. Attorney, appeared on behalf of the United States of America and

George Dunn appeared on behalf of Defendant Johnnie Lamar Haynes, who was present

at the hearing. This case has been referred to the undersigned United States Magistrate

Judge for a report and recommendation pursuant to 28 U.S.C. § 636 and Local Rule 72.1.

      For the reasons stated below, the Court recommends that Defendant’s Motion to

Suppress Search and Seizure (Dkt. 35) and Supplemental Motion to Suppress Search and

Seizure (Dkt. 59) be denied.
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                          I.     FACTUAL BACKGROUND

A.     TFO Lepinski’s Investigation and Arrest of Haynes

       At the February 3, 2020 hearing, Sergeant Adam Lepinski of the Minneapolis

Police Department (“MPD”), who is assigned as a Task Force Officer (“TFO”) to the

Bureau of Alcohol, Tobacco, Firearms and Explosives (“ATF”), testified about his

investigation of a shooting that occurred at a gas station in North Minneapolis, Minnesota

on August 5, 2019. (Tr. at 12-14.) 1 According to TFO Lepinski, an occupied vehicle

was shot at, but the occupants never came forward to the authorities about the incident.

(Id. at 14.) TFO Lepinski testified that Haynes was a suspect in the shooting. (Id.) TFO

Lepinski issued a probable cause pickup for Haynes. (Id. at 15.) He also sought Haynes’

arrest pursuant to an active Department of Corrections warrant in connection with a

parole violation. (Id.)

       TFO Lepinski testified that on August 17, 2019, he was working an off-duty job at

a parking lot in the 500 block between Hennepin and 1st Avenue North in the bar district

of downtown Minneapolis. (Id. at 16.) On the same night, TFO Lepinski saw Haynes on

5th Street between Hennepin and 1st Avenue North. (Id. at 16-17.) Haynes was walking

down the sidewalk and TFO Lepinski was walking in the opposite direction. (Id. at 17.)

TFO Lepinski, who was in a full MPD uniform, stopped Haynes and placed him in

handcuffs. (Id.) TFO Lepinski patted down Haynes and did not feel any handguns or

any other obvious weapons. (Id. at 17-18.) However, TFO Lepinski felt what he


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       A copy of the hearing transcript (“Tr.”) can be found at Docket Entry 79.


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believed to be a cell phone in Haynes’s pocket. (Id. at 18.) TFO Lepinski left the cell

phone in Haynes’s pocket and walked him to the First Precinct, located one block from

the parking lot. (Id.)

       Next, TFO Lepinski conducted a full search incident to arrest and removed

Haynes’s cell phone, an Apple iPhone, white in color with pinkish colored case and a

cracked screen protector, from his pocket. (Id. at 18, 20.) TFO Lepinski believed that

the phone was the same cell phone as one recorded in surveillance video of the shooting,

although he was not certain. (Id. at 31-32; Gov’t Ex. 4 at 1-3 (“August 2019 Affidavit”).)

TFO Lepinski testified that the cell phone was locked when he took the phone out of

Haynes’s pocket. (Tr. at 19.) Haynes was placed in a holding cell and TFO Lepinski

took possession of the cell phone. (Id. at 18-19.)

B.     Unlocking and Search of Haynes’s Cell Phone

       TFO Lepinski’s body camera captured some of his interactions with Haynes. (Id.

at 22; Gov’t Exs. 1-3.) While Haynes was initially in the holding cell, TFO Lepinski

believed that Haynes was not telling the truth about his name. (Tr. at 19-20; Gov’t Ex. 1

(“Bodycam Footage No. 1”) at 0:42-1:42.) Haynes eventually told TFO Lepinski that he

was in fact Johnnie Haynes. (Id.)

       While in the holding cell, Haynes asked TFO Lepinski for several phone numbers

from his cell phone when he learned he would be spending the night in jail. (Tr. at 18;

Gov’t Ex. 1 at 2:33-2:35.) TFO Lepinski responded “If you want me to write some

numbers down, I can do that out of your phone.” (Gov’t Ex. 1 at 2:35-2:39.) Haynes’

cell phone was locked at this point. (Tr. at 20.) TFO Lepinski provided the cell phone to


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Haynes, who then unlocked it with his thumbprint. (Tr. at 19; Gov’t Ex. 1 at 2:40-2:51.)

Haynes then asked if he could call his wife, and TFO Lepinski replied “Let me write

down a couple of numbers for you, OK?” and “I don’t want you making any calls right

now, but you can write down some numbers, if you want, or I’ll write them down.”

(Gov’t Ex. 1 at 3:00-3:13.) TFO Lepinski handed the phone to Haynes, who held the

phone and read several phone numbers out loud while TFO Lepinski wrote them down on

a piece of paper. (Tr. at 19; Gov’t Ex. 1 at 3:14-4:26.) While reading numbers with the

phone in his hand, Haynes said “This the last number right here, man. And then I’m

going to turn my phone off.” (Gov’t Ex. 1 at 4:26-4:34.) Haynes then asked to speak to

someone at the front desk, and after TFO Lepinski said Haynes could not but that he was

“being real cool in giving [Haynes] all the numbers,” Haynes gave TFO Lepinski the

final number and handed the phone back to him, who took it, gave Haynes the paper with

the numbers, closed the holding cell door, and went to his computer. (Id. at 4:44-5:33.)

Bodycam Footage No. 1 shows the screen was dark when TFO Lepinski received the

phone from Haynes and that, when TFO Lepinski touched the screen after closing the

holding cell door, the screen lit up displaying icons, i.e., that the phone was in an

unlocked state. (Id. at 5:30-5:31.) Lepinski testified that while Haynes was in the

holding cell, Haynes asked TFO Lepinski about locking his cell phone as TFO Lepinski

was leaving the holding cell. (Id. at 29.)

       TFO Lepinski testified that after the initial interaction with Haynes, he went to a

computer down the hallway and filled out some paperwork. (Id. at 23.) After “a matter

of minutes,” TFO Lepinski changed the settings on the cell phone, which was still


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unlocked. (Id.) TFO Lepinski disabled the automatic-lock feature by changing the

settings to a setting called “never lock” to prevent the screen from going to sleep or

locking. (Id. at 20.) TFO Lepinski believed this was the first instance where he had

changed the settings on a cell phone. (Id. at 33.) TFO Lepinski testified that he changed

the settings because he did not have the passcode for the phone and believed that he

would be able to get into the phone easier to get the data off the phone if it remained

unlocked. (Id. at 21, 30.) According to TFO Lepinski, the cell phone must go through a

certain process to extract data from it. (Id. at 32.) This process is easier for unlocked

phones. (Id. at 33.) However, he also testified that the same information can be retrieved

without the passcode, it just takes longer. (Id.) TFO further testified that he did not

know on August 17, 2019, when interacting with Haynes, that the lab could open phones

without a passcode, and that he only learned this information when preparing for the

February 3 hearing. (Id. at 51; see also id. at 39 (later learned crime lab could open

phones without a passcode).)

       TFO Lepinski later testified that he did not remember the exact steps he took to

change the settings to prevent the phone from locking. (Id. at 34.) TFO Lepinski agreed

that there were at least “five different things” he had to do to successfully change the

settings. (Id. at 35.) TFO Lepinski also testified that he did not have access to a Faraday

box, which prevents the phone from having cellular communication or connection to a

network. (Id. at 35-36.) Consequently, TFO Lepinski set the phone to “airplane” mode

to prevent the phone from getting wiped remotely by the user or another party. (Id. at 37-

39.)


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       TFO Lepinski testified that he intended to obtain a search warrant for Haynes’s

cell phone. (Id. at 21.) Other than looking through the cell phone’s contact list with

Haynes, TFO Lepinski testified that he did not view or access the phone’s content when

he changed the settings. (Id.) Specifically, TFO Lepinski testified that he did not look at

any photographs, videos, texts, or any contacts other than the ones he had shared with

Haynes at his request, or anything else substantive on the cell phone. (Id. at 21-22.)

       TFO Lepinski testified that even though the cell phone was unlocked, he was still

interested in obtaining the cell phone’s passcode in case it locked. (Id. at 24.) TFO

Lepinski agreed that Haynes considered the information on his cell phone to be his

private information. (Id. at 30.) TFO Lepinski testified that it is his general practice to

ask for the passcode. (Id.) When Haynes was being transported from the holding cell to

the squad car, he asked for an additional phone number. (Gov’t Ex. 2 at 1:10-1:18.) TFO

Lepinski asked Haynes for the passcode “so I can get back into your phone,” and Haynes

indicated he would use his thumb to open the phone again because his phone did not have

a passcode. (Id. at 1:23-1:34.) As Haynes was being placed in the squad car, he asked

about his phone and TFO Lepinski told him “it’s still sitting open, it hasn’t locked yet.”

(Id. at 3:37-3:43.) TFO Lepinski told Haynes that if he was willing to give TFO Lepinski

the passcode, it would help him get his phone back faster. (Gov’t Ex. 2 at 3:48-3:58.) As

Haynes was being placed in the car, he asked, “is my phone still unlocked” and TFO

Lepinski responded, “I think so.” (Id. at 5:39-5:41.) TFO Lepinski testified that at this

juncture, he was still thinking about the warrant he was going to obtain for the cell phone.

(Tr. at 24-25.)


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       At Haynes’s request, TFO Lepinski went back inside the precinct and retrieved

another phone number from Haynes’s cell phone. (Id. at 25.) After writing down the

phone number on a piece of paper, TFO Lepinski placed the cell phone in a manila

envelope, held the envelope flat to prevent the phone from locking, and returned to the

squad car. (Tr. at 25-26; Gov’t Ex. 3 (“Bodycam Footage No. 3”) at 0:00-0:38.) TFO

Lepinski handed the piece of paper to the officer in the squad car and notified Haynes of

that action. (Gov’t Ex. 3 at 0:37-0:40.) At that time, Haynes asked TFO Lepinski “Did

you lock my phone back up? Is it locked up?” (Id. at 0:45-0:49.) TFO Lepinski,

carrying the phone in the manila envelope, said the phone was “right here” and would be

property inventoried. (Id. at 0:47-0:50.) Haynes responded, “But did you lock it up” and

TFO Lepinski responded, “Yes, it is,” to which Haynes continued, “or did you go in it?”

(Id. at 0:50-0:52.) TFO Lepinski replied, “I got the number out of it. You asked me to,

right?” and Haynes responded, “Oh, OK. Yeah.” (Id. at 0:52-0:57.) TFO Lepinski

testified that the cell phone was actually unlocked when he told Haynes that it was

locked. (Tr. at 28.)

       Next, TFO Lepinski had two uniformed officers transport Haynes to the jail before

returning to his job at the parking lot. (Tr. at 42.) At some point during or after his shift

at the parking lot, TFO Lepinski brought the phone to the violent crimes office in

downtown Minneapolis and plugged it in a docking station for phones awaiting search

warrants. (Id. at 43-44.) The phone sat unattended until TFO Lepinski returned to work

on Monday evening. (Id. at 44.)




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       TFO Lepinski submitted an Application for Search Warrant on August 19, 2019.

(Gov’t Ex. 4.) TFO Lepinski’s August 2019 Affidavit alleged the following relevant

facts in support of the Application:

          • On 08/05/2019, Minneapolis Police responded to a ShotSpotter
            activation at Lowry AV N and Logan AV N. Upon arrival, they
            located multiple discharged cartridge casings and a handgun
            magazine. The victim(s) and suspect(s) were gone when officers
            arrived.

          • Surveillance video was obtained from two sources that show what
            transpired before and after the shooting. The suspect in the video is
            shown at the gas station and shown purchasing a Western Union
            using a fake name of “JOHN HART”. The suspect is then observed
            on video surveillance taking a photograph of the Western Union
            receipt with his cell phone, which is an Apple iPhone in a pinkish
            colored case and believed to be the exact same phone listed on this
            warrant. After taking the photograph of the receipt, the suspect then
            goes outside the gas station, appears to obtain a handgun from
            another individual and shoots at least 13 times at a blue Pontiac G6.
            Two bullets travel into a nearby business that is occupied by
            multiple employees. No victims from the Pontiac came forward to
            police and it is believed that no occupants were struck, although the
            vehicle was occupied by at least three individuals. The individual
            who the shooter gets the gun from appears to come to the gas station
            in a hurry and likely was called by the suspect to bring the gun to his
            location.

          • After shooting, the suspect fled the area and the handgun magazine
            was recovered by police in the path of his flight.

          • Prior to the shooting, the surveillance video shows the suspect
            exiting the front passenger seat of a grey colored Dodge Challenger,
            MN license WYXXX. The vehicle is in the gas station lot. A black
            female, later identified as A.H., is the driver of this vehicle in the
            video.

          • TFO Lepinski spoke with a confidential reliable informant (“CRI”)
            about the case and showed a still photo of the suspect from the
            surveillance video to the CRI. The CRI identified the suspect as
            “Bad Ass”. Minneapolis Police database shows the moniker of “Bad

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        Ass” as belonging to Johnnie Lamar Haynes, date of birth
        03/24/1989. Haynes is a multi-convicted felon and thus a person
        prohibited from possessing a firearm.

     • TFO Lepinski compared the surveillance video of the shooter to
       HAYNES and they appear to be the same person.

     • On 08/09/2019, Minneapolis Police patrol officers located the Dodge
       Challenger and conducted a traffic stop on the vehicle. TFO
       Lepinski had previously placed an Attempt to Locate on this vehicle
       to the online MPD Daily Intelligence Board. When officers stopped
       the vehicle, the registered owner, A.H., was the driver and sole
       occupant of the vehicle. TFO Lepinski requested that the vehicle be
       towed. A.H. said she was willing to provide a statement about the
       shots fired incident. TFO Lepinski conducted an audio/video
       recorded interview with A.H. During that interview, she said she
       was at the gas station with “Johnnie” and identified HAYNES in a
       video surveillance still shot. A.H. provided TFO Lepinski her phone
       number as 773-368-XXXX and showed TFO Lepinski her phone
       call log from 8/5/19. TFO Lepinski observed the phone number of
       320-455-XXXX listed multiple times on her call log on 8/5/19. A
       query was done on this number, which showed the subscriber as
       “JOHN HART”, which is the same name that was listed on the
       Western Union receipt. “John Hart” appears to be an alias used by
       HAYNES.

     • TFO Lepinski drafted a search warrant for “Call detail records” with
       historical cell tower data for numbers for HAYNES and A.H. The
       records showed both HAYNES and A.H. at the scene of the
       shooting. Furthermore, the records for HAYNES showed that he
       had contact with two numbers right before the shooting, one of
       which is presumably the person who brought him the handgun.
       Through various investigative techniques, TFO Lepinski believed
       the person who brought the handgun to HAYNES is Cortez L.
       SHIPP, a known associate of HAYNES. By viewing HAYNES’
       phone contact list, TFO Lepinski stated that he would be able to
       compare the numbers from the call detail records to the contacts
       listed in his phone.

     • On 8/17/2019, at approximately 0130 hrs, TFO Lepinski was
       working off-duty in downtown Minneapolis, when he observed
       HAYNES walking down 5th Street North by 1st Avenue North.
       TFO Lepinski approached and arrested HAYNES for PC

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              Assault/Felon in possession of a weapon related to this case, along
              with an outstanding warrant from DOC. When TFO Lepinski
              searched Haynes incident to arrest, the listed Apple iPhone, was
              located in HAYNES’ pants pocket. The phone was taken into
              evidence and HAYNES was booked into jail, where he remains.

          • Furthermore, TFO Lepinski believes the listed phone will contain
            contact information for the person who HAYNES called (Cortez
            Shipp) to bring the gun to the scene.

(Gov’t Ex. 4 at 1-3.) TFO Lepinski believed Haynes’ phone would contain the

photograph he took of the Western Union receipt, which he thought would confirm

whether he was the shooter in the case. (Id. at 3.) TFO Lepinski also believed that

Haynes’s cell phone would contain contact information for the individual that allegedly

brought the gun to Haynes. (Id.)

       On August 20, 2019, TFO Lepinski obtained the search warrant for Haynes’s cell

phone. (Tr. at 26-27; Gov’t Ex. 4.) TFO Lepinski testified that he did not include

anything in the probable cause section of the warrant’s application relating to what he

saw in the cell phone while changing its settings. (Tr. at 27.) TFO Lepinski also testified

that the change in the lock settings did not affect the affidavit for the warrant he

submitted. (Id. at 28.) After TFO Lepinski obtained the search warrant, he brought

Haynes’s cell phone to the crime lab. (Id. at 48.) TFO Lepinski testified that he did not

look through the phone after he brought it to the crime lab. (Id. at 49.) TFO Lepinski

submitted a work request form asking the crime lab to search the phone. (Id. at 56.)

       Officer Michael Gustafson, a computer forensic examiner with the MPD Crime

Lab, also testified at the February 3, 2020 hearing. (Id. at 53-68.) Officer Gustafson

testified that he searched Haynes’s cell phone on August 21, 2019 using a forensic tool


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called GrayKey. (Id. at 55.) GrayKey is only available only to law enforcement. (Id. at

57.) Officer Gustafson testified that GrayKey analyzes devices with an automated

process. (Id.) According to Officer Gustafson, if the device is unlocked, the device will

“ask you to trust it, which is called paired mode.” (Id.) Officer Gustafson testified that

when TFO Lepinski delivered Haynes’s cell phone, “it was on, the screen was on, and the

phone appeared to be unlocked.” (Id.)

       When Officer Gustafson connected Haynes’s cell phone to GrayKey, the cell

phone asked him if he wanted to trust the device. (Id.) Officer Gustafson told the cell

phone to trust GrayKey, which then prompted him to enter the cell phone’s passcode.

(Id. at 58.) In order to trust the cell phone and put it into paired mode, the passcode is

still required. (Id. at 61.) At that point, GrayKey allows one minute to enter the passcode

before proceeding with its procedure as though the device was locked. (Id.) Gustafson

testified that because he did not enter the passcode, GrayKey began its initial access

procedure and attempted to gain access to the cell phone by working around the cell

phone’s security. (Id. at 59.)

       The initial access procedure would have processed faster had the passcode been

entered. (Id.) Without the passcode, some of the cell phone’s information could not be

accessed including some health-related data, some pictures, and some videos. (Id.)

Officer Gustafson testified that even if the phone had been locked when connected to the

GrayKey, it would have made “no difference” on his search. (Id.) Officer Gustafson

explained that “because [he] didn’t have the passcode to trust the GrayKey and [he]

couldn’t complete that digital handshake, the GrayKey proceeded as though the device’s


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passcode was active.” (Id. at 60.) When a cell phone is left on, Officer Gustafson

testified that it is in a less secure state called “after first unlock” or “AFU.” (Id.) In these

circumstances, GrayKey can extract most of the cell phone’s data, even without a

passcode. (Id.) Because Officer Gustafson did not have the passcode, GrayKey treated

the phone as if it was locked. (Id.) Officer Gustafson was unaware that TFO Lepinski

had changed the settings on the phone until he attempted to trust the device. (Id.)

       Officer Gustafson later testified that “[t]he GrayKey cannot access 100 percent of

Apple devices, but I would say if the device is left on at the time it is seized, whether it is

locked or unlocked, and the user has been using the device, I would say roughly 90

percent or more of Apple devices can be accessed.” (Id. at 62.) If the cell phone is left

on, the chances increase of being able to access it with GrayKey. (Id.) Changing the

screen lock time-out settings had no effect on Officer Gustafson’s procedures. (Id.)

       Officer Gustafson testified about the cell phone’s thumbprint capabilities, known

as Apple biometrics or Touch ID, and indicated that “for our purposes, the biometrics and

the passcode are one and the same.” (Id. at 63.) Normally, Officer Gustafson would

perform a timestamp verification to verify the information in his report is the same as the

phone. (Id. at 65.) However, Officer Gustafson was unable to perform the verification

because the cell phone relocked after the data extraction. (Id.) Officer Gustafson

estimated that he retrieved over 95 percent of the data that was on Haynes’s cell phone.

(Id. at 67.)




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                                    II.     DISCUSSION

         Haynes moves to suppress the following evidence:

         [a]ll physical evidence discovered, recovered, and/or seized arising out of the
         search and seizure of electronically stored data on Apple iPhone, white in
         color with pinkish colored case, crack screen protector (PI # 84339-002),
         including all SMS/MMS messaging, call log, contact list, all photo/video
         content, SIM card data, account information for email and social media
         accounts and any stored GPS locations, noted in the Application for Search
         Warrant by Officer Adam Lepinski, electronically signed 08/19/2019, and in
         the Search Warrant electronically signed by Judge Martha Holton Dimick on
         08/20/2019.

(Dkts. 35, 59.)

         The Court addresses Defendant’s Motion and Supplemental Motion collectively

below.

A.       Motion to Suppress Evidence Obtained by Search and Seizure

         In support of his motion to suppress the evidence arising out of the search and

seizure of his cell phone, Haynes argues that “the opening of [his] phone and changing of

his phone’s settings constitute a search which was not supported by a search warrant or

pursuant to any recognized exception to the search warrant-requirement, and therefore,

the evidence should be excluded.” (Dkt. 89 at 8.) Haynes further argues that TFO

Lepinski’s “action in going into the settings of Mr. Haynes’ phone and changing those

settings exceeded the scope of the consent authorization Mr. Haynes gave the police

officer to retrieve phone numbers from the phone” and identified “consent searches” as

one of the exceptions that did not apply to the changing of the settings. (Dkt. 59 at 3;

Dkt. 89 at 8.) The Government counters that TFO Lepinski was justified in securing

Haynes’s cell phone. (Dkt. 94 at 5.) The Government argues that TFO Lepinski’s


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actions were reasonable and “tantamount to securing a scene in order to maintain the

status quo while a search warrant was obtained.” (Id. at 5-6.) In the alternative, the

Government argues that the contents of Haynes’s cell phone would be admissible under

the independence source doctrine and inevitable discovery doctrine. (Id. at 8-11.)

       1.     Whether TFO Lepinski’s Changes to the Settings Violated the Fourth
              Amendment

       The Court first considers whether TFO Lepinski’s changing of the cell phone

settings to airplane mode and “never lock” violated the Fourth Amendment. The Fourth

Amendment protects “[t]he right of the people to be secure in their persons, houses,

papers, and effects, against unreasonable searches and seizures . . . .” U.S. Const. amend.

IV. The basic purpose of the Fourth Amendment “‘is to safeguard the privacy and

security of individuals against arbitrary invasions by governmental officials.’” Carpenter

v. United States, 138 S. Ct. 2206, 2213 (2018) (quoting Camara v. Municipal Court, 387

U.S. 523, 528 (1967)). “When an individual ‘seeks to preserve something as private,’

and his expectation of privacy is ‘one that society is prepared to recognize as reasonable,’

we have held that official intrusion into that private sphere generally qualifies as a search

and requires a warrant supported by probable cause.” Id. (quoting Smith v. Maryland,

442 U.S. 735, 740 (1979)).

       Haynes argues that he had a reasonable expectation of privacy that the police

would not be searching his phone to change the settings. (Dkt. 89 at 7.) Haynes also

argues that TFO Lepinski’s decision to change the settings constitutes a warrantless

search that does not fall within any of the exceptions to the warrant requirement,



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including the consent exception, and that changing the settings exceeded the scope of the

consent authorization Haynes gave TFO Lepinski to retrieve phone numbers. (Id. at 7-8;

Dkt. 59 at 3.) Relying on Riley v. California, 573 U.S. 373 (2014), the Government

counters that TFO Lepinski took reasonable steps to secure Haynes’s cell phone and to

prevent the loss of evidence while he sought a warrant. (Dkt. 94 at 6-7.)

       The U.S. Supreme Court in Riley held that the police generally may not, without a

valid search warrant, search digital information on a cell phone seized from an individual

who has been arrested. See 573 U.S. at 386. In so holding, the Supreme Court

concluded: “Modern cell phones are not just another technological convenience. With all

they contain and all they may reveal, they hold for many Americans the privacies of life.

The fact that technology now allows an individual to carry such information in his hand

does not make the information any less worthy of the protection for which the Founders

fought.” Id. at 403 (cleaned up). Data stored on cell phones is “qualitatively different”

from physical records because searching a cell phone “would typically expose to the

government far more than the most exhaustive search of a house: A phone not only

contains in digital form many sensitive records previously found in the home; it also

contains a broad array of private information never found in a home in any form—unless

the phone is.” Id. at 393-98.

       The Supreme Court recognized, however, that a cell phone may be seized and

secured to prevent destruction of evidence. Id. at 388-91. The Supreme Court focused

on two types of destruction of evidence: remote wiping and encryption (which occurs

when a phone is locked). See id. As explained in Riley:


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       Remote wiping occurs when a phone, connected to a wireless network,
       receives a signal that erases stored data. This can happen when a third party
       sends a remote signal or when a phone is preprogrammed to delete data upon
       entering or leaving certain geographic areas (so-called “geofencing”).
       Encryption is a security feature that some modern cell phones use in addition
       to password protection. When such phones lock, data becomes protected by
       sophisticated encryption that renders a phone all but ‘unbreakable’ unless
       police know the password.

Id. at 388-89 (citations omitted).

       The Supreme Court, however, had “been given little reason to believe that either

problem is prevalent.” Id. at 389. The briefing in Riley “revealed only a couple of

anecdotal examples of remote wiping triggered by an arrest.” Id. Further, “[l]aw

enforcement officers are very unlikely to come upon such a phone in an unlocked state

because most phones lock at the touch of a button or, as a default, after some very short

period of inactivity,” and “an officer who seizes a phone in an unlocked state might not

be able to begin his search in the short time remaining before the phone locks and data

becomes encrypted.” Id. at 389-90. However, the Supreme Court suggested that, “if

officers happen to seize a phone in an unlocked state, they may be able to disable a

phone’s automatic-lock feature in order to prevent the phone from locking and encrypting

data.” Id. at 391. It further explained that “[s]uch a preventative measure could be

analyzed under the principles set forth in our decision in McArthur, 531 U.S. 326, 121 S.

Ct. 946, which approved officers’ reasonable steps to secure a scene to preserve evidence

while they awaited a warrant.” Id.




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       As to remote wiping, the Supreme Court explained that:

       Remote wiping can be fully prevented by disconnecting a phone from the
       network. There are at least two simple ways to do this: First, law
       enforcement officers can turn the phone off or remove its battery. Second, if
       they are concerned about encryption or other potential problems, they can
       leave a phone powered on and place it in an enclosure that isolates the phone
       from radio waves. Such devices are commonly called “Faraday bags,” after
       the English scientist Michael Faraday. They are essentially sandwich bags
       made of aluminum foil: cheap, lightweight, and easy to use.

Id. at 390 (citations omitted).

       Haynes argues that the Supreme Court’s language in Riley is mere dicta and not

the holding of the case. (Dkt. 89 at 9.) However, as the Government points out, the

authority to secure a scene to maintain the status quo while obtaining a warrant existed

prior to the holding in Riley. See Segura v. United States, 468 U.S. 796, 798 (1984)

(“[W]here officers, having probable cause, enter premises, and with probable cause,

secure the premises from within to preserve the status quo while others, in good faith, are

in the process of obtaining a warrant, they do not violate the Fourth Amendment’s

proscription against unreasonable seizures.”); see also, e.g., United States v. Ruiz-

Estrada, 312 F.3d 398, 404 (8th Cir. 2002) (securing an apartment to prevent the

destruction of suspected narcotics supply while awaiting search warrant for 19 hours

comports with the Fourth Amendment); United States v. Roby, 122 F.3d 1120, 1125 (8th

Cir. 1997) (citing United States v. Kulcsar, 586 F.2d 1283, 1287 (8th Cir. 1978)) (“The

officers entered, but took no investigative steps; they merely preserved the space and

checked to assure their own safety. There was full compliance with the mandate of the

Fourth Amendment.”); United States v. Burrell, No. 06-81 (JNE/RLE), 2006 WL



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1715608, at *21 (D. Minn. June 19, 2006) (“[W]e find that the ‘freezing,’ or seizure, of

Brown’s residence, until the issuance of a Search Warrant, was reasonable.”). While

these cases generally relate to securing the scene of a dwelling, this doctrine, as outlined

in McArthur, could nevertheless be applied in the context of securing a cell phone as

noted in Riley. See 573 U.S. at 373.

       With that background, the Court considers whether TFO Lepinski’s changing of

the settings of Haynes’ cell phone constitutes a search of his phone that violated the

Fourth Amendment. The Government argues that TFO Lepinski’s act in changing the

settings was tantamount to securing a scene pending a search warrant. (Dkt. 95 at 5-7.)

The Court has some concerns about this argument. TFO Lepinski did not “happen to

seize a phone in an unlocked state” as contemplated in Riley. The cell phone was seized

when TFO Lepinski walked Haynes to the First Precinct and searched him incident to

arrest. (Tr. at 18.) The phone was locked when TFO Lepinski took it out of Haynes’

pocket during the search incident to arrest. (Id. at 19 (phone locked when removed from

Haynes’ pocket); see id. at 18 (TFO Lepinski removed phone from Haynes’ pocket

during search incident to arrest).) It was not unlocked until TFO Lepinski retrieved it to

obtain the phone numbers requested by Haynes and Haynes unlocked it with his

thumbprint for that purpose. (Id. at 19.)

       Further, Haynes unlocked the phone for TFO Lepinski so that he could obtain

certain phone numbers (Gov’t Ex. 1 at 2:35-2:51), but there is nothing in the record that

suggests Haynes consented to TFO Lepinski’s changing of the settings—particularly to a

“never lock” setting. Rather, Haynes intended to turn the phone off when he returned it


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to TFO Lepinski, Haynes was concerned about keeping his phone locked, and TFO

Lepinski obfuscated as to whether the phone was locked after it was returned to him by

Haynes in the holding cell. (Gov’t Ex. 1 at 4:26-4:34 (Haynes saying he intended to turn

phone off); Gov’t Ex. 2 at 1:23-1:24 (TFO Lepinski asking Haynes for passcode “so I can

get back into your phone” after he had already set the phone to “never lock”); Gov’t Ex. 3

at 0:50-52 (TFO Lepinski responding “Yes, it is” when asked if the phone was locked

up); Tr. at 28 (TFO Lepinski testifying that phone was unlocked when he told Haynes it

was locked).) “When an official search is properly authorized—whether by consent or by

the issuance of a valid warrant—the scope of the search is limited by the terms of its

authorization.” Walter v. United States, 447 U.S. 649, 656 (1980). The scope of consent

to search is measured by a standard of objective reasonableness, United States v. Urbina,

431 F.3d 305, 310 (8th Cir. 2005), where the issue is what “the typical reasonable person

[would] have understood by the exchange between the officer and the suspect,” Florida

v. Jimeno, 500 U.S. 248, 251 (1991). Here, a typical reasonable person would have

understood that Haynes was not authorizing TFO Lepinski to change the settings in his

phone.

         Under these circumstances, it is not clear that the dicta in Riley suggesting that law

enforcement can change settings on a phone to prevent encryption if they happen to seize

a phone in an unlocked state or the case law authorizing securing a scene to maintain the

status quo pending a warrant would apply to the facts of this case. Compare United

States v. Bell, Case No. 15-10029, 2016 WL 1588098, at *2-6 (C.D. Ill. April 20, 2016)

(opening flip phone to turn it off constituted warrantless search of phone not subject to


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preservation of evidence exception where phone could have been turned off or the battery

removed), with United States v. Cain, Case No. 1:15-cr-00103-JAW, 2017 WL 1507422,

at *4-5 (D. Me. April 27, 2017) (“The steps taken by Agent Collier to activate airplane

mode, after Defendant told Agent Collier he could look at the phone and after Defendant

provided the security code, were no more intrusive than the steps that would be required

to ‘disable a phone’s automatic-lock feature in order to prevent the phone from locking

and encrypting data,’ a measure the Supreme Court described as one reasonable approach

to preserve data on an unlocked cellular phone.”) (citing Riley, 573 U.S. at 391). The

Court need not decide this question, however, because even if TFO Lepinski’s actions

constituted a search that violated the Fourth Amendment, the Court concludes for the

reasons explained below that the evidence from the cell phone obtained pursuant to the

search warrant is admissible under the independent source and inevitable discovery

doctrines.

       2.    Independent Source Doctrine

       The Government argues that the independent source doctrine would render the

evidence obtained pursuant to the search warrant admissible notwithstanding any error

made by TFO Lepinski in securing Haynes’s cell phone. (Dkt. 94 at 8-10.) Haynes

argues that the Government has failed to establish that the tainted evidence would have

been obtained independently after the search warrant was secured. (Dkt. 89 at 10.) The

Court agrees with the Government.

       “The independent source doctrine allows admission of ‘evidence initially

discovered during, or as a consequence of, an unlawful search, but later obtained


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independently from activities untainted by the initial illegality.’” United States v.

Anguiano, 934 F.3d 871, 874 (8th Cir. 2019) (quoting Murray v. United States, 487 U.S.

533, 537 (1988)). To invoke the independent source doctrine, the Eighth Circuit requires

the Government to demonstrate: “(1) that the decision to seek the warrant was

independent of the unlawful entry—i.e., that police would have sought the warrant even

if the initial entry had not occurred—and (2) that the information obtained through the

unlawful entry did not affect the magistrate’s decision to issue the warrant.’” Anguiano,

934 F.3d at 874 (quoting United States v. Khabeer, 410 F.3d 477, 483 (8th Cir. 2005)).

       Here, the record shows that TFO Lepinski’s decision to seek the warrant was

independent of the unlawful entry. With respect to the first prong, TFO Lepinski testified

that his intention was to obtain a warrant to search the phone and that he only changed

the settings in order to facilitate the warrant. (Tr. at 21, 25-25.) As to the second prong,

TFO Lepinski testified that he never attempted to obtain or actually obtained any

substantive content from the phone (other than the contact information requested by

Haynes) when changing the settings. (Id. at 21-22, 27-28.) In addition, TFO Lepinski

testified that he did not mention anything in the probable cause section of the warrant’s

application about changing the settings or anything he saw while doing so. (Tr. at 27.)

Therefore, the record shows that TFO Lepinski’s decision to change the settings to

airplane mode and “never lock” did not affect Judge Dimick’s decision to issue the search

warrant.

       Haynes argues that if TFO Lepinski “had secured the phone by turning it off or

removing the battery, as suggested by the Supreme Court in Riley, it would have been


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more difficult for the Government to obtain the protected data” because, according to

Haynes, “Officer Gustafson’s testimony is that if the phone is turned off, the workaround

to bypass password protection is more difficult and would only be successful 90% of the

time.” (Dkt. 89 at 10 (citing Tr. at 62).) Officer Gustafson actually testified that “I

would say if the device is left on at the time it is seized, whether it is locked or unlocked,

and the user has been using the device, I would say roughly 90 percent or more of Apple

devices can be accessed.” (Tr. at 62:2-7.)

       The Government argues that Haynes is conflating locking and remote wiping.

(Dkt. 94 at 9.) When TFO Lepinski changed the settings to “never lock,” he believed

(apparently erroneously, as it turned out) that he was preventing the destruction of

evidence that could occur if the phone locked, thereby encrypting the data. (Tr. at 38-

39.) By placing the phone in airplane mode, TFO Lepinski—who did not have a Faraday

bag or box or any other equipment for securing the cell phone such that it could not

communicate with a network (Tr. at 36-37)—sought to prevent evidence destruction by

remote wiping.

       Haynes’ argument assumes that the only options TFO Lepinski had were (1) turn

the phone off to prevent remote wiping or (2) place the phone in airplane mode (which he

contends is an illegal search). That is not accurate. TFO Lepinski had the option of

doing nothing, and leaving the phone in a powered-on, locked state—the status quo of the

phone when seized. Indeed, it appears unlikely that TFO Lepinski would have turned the

cell phone off due to remote wiping concerns, because that would lock the phone. (See

Tr. at 66.) If the phone had been kept in its powered-on, locked state, it would have been


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in an AFU state, and GrayKey would have extracted the same data that was extracted

from the phone in its unlocked state. (Tr. at 59-60.) For these reasons, the Court finds

that the results of the search of Haynes’ cell phone after TFO Lepinski obtained a warrant

constitute an independent source of the evidence, and recommends denial of the Motion

and Supplemental Motion on that basis.

       3.      Inevitable Discovery Doctrine

       The Government also argues that the evidence retrieved from Haynes’s cell phone

would be admissible under the inevitable discovery doctrine. (Dkt. 94 at 10.) Under the

inevitable discovery doctrine, evidence need not be suppressed if the Government can

prove by a preponderance of the evidence that: “(1) there is a reasonable probability the

evidence would have been discovered by lawful means in the absence of police

misconduct, and (2) the government was actively pursuing a substantial, alternative line

of investigation at the time of the constitutional violation.” United States v. Thomas, 524

F.3d 855, 859 (8th Cir. 2008) (citing United States v. Glenn, 152 F.3d 1047, 1049 (8th

Cir. 1998)).

       Here, the record shows that there was, at a minimum, a reasonable probability that

the evidence obtained from the cell phone would have been obtained pursuant to the

warrant even if TFO Lepinski had not changed the settings. First, as discussed above,

TFO Lepinski intended to seek a warrant for the cell phone and the change in settings did

not affect the affidavit he submitted. (Tr. at 21, 27-28.) Second, the record reflects that if

TFO Lepinski had not changed the settings to “never lock” and airplane mode (but kept

the phone on), GrayKey would have obtained the same data off the phone. (Id. at 59.)


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Finally, in view of Officer Gustafson’s testimony that even if the cell phone had been

turned off, GrayKey would have been able to obtain “some pictures, some videos, some

user account information, things of that nature, but it won’t get any communication data”

unless a “brute force” method was successful (Tr. at 67), and in the absence of any

evidence identified by Haynes for suppression that GrayKey would not have been able to

obtain if the cell phone had been turned off, the Court finds that the Government has

shown by a reasonable probability that the evidence would have been obtained pursuant

to the warrant. Accordingly, the Court finds that the inevitable discovery doctrine

applies, and recommends denial of the Motion and Supplemental Motion on that ground

as well.

B.      Whether the August 2019 Search Warrant is Supported by Probable Cause

        In his Motion to Suppress Search and Seizure filed on November 12, 2019,

Haynes argues that the August 2019 Search Warrant was not supported by probable

cause, contains information supplied by a confidential informant whose reliability and

trustworthiness was not established, and contains inaccurate information and unsupported

allegations. (Dkt. 35 at 2.) Haynes reasserts these bases in his Supplemental Motion.

(Dkt. 59 at 2.) He did not include any argument on these points in his post-hearing

briefing.

        A reviewing court must evaluate a search warrant in its entirety and in a

commonsense manner. See Illinois v. Gates, 462 U.S. 213, 230-31 (1983). Ordinarily,

searches pursuant to a warrant are reviewed to determine if there was probable cause for

the search in the search warrant application and affidavit. See id. at 236. “Probable


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cause exists when, given the totality of the circumstances, a reasonable person could

believe there is a fair probability that contraband or evidence of a crime would be found

in a particular place.” United States v. Fladten, 230 F.3d 1083, 1085 (8th Cir. 2000)

(citing Gates, 462 U.S. at 238). The task of a court issuing a search warrant is “simply to

make a practical, common-sense decision whether, given all the circumstances set forth

in the affidavit . . . including the ‘veracity’ and ‘basis of knowledge’ of persons

supplying hearsay information, there is a fair probability that contraband or evidence of a

crime will be found in a particular place.” Gates, 462 U.S. at 238. “Probable cause is a

fluid concept that focuses on ‘the factual and practical considerations of everyday life on

which reasonable and prudent men, not legal technicians, act.’” United States v. Colbert,

605 F.3d 573, 576 (8th Cir. 2010) (quoting Gates, 462 U.S. at 231). In reviewing the

decision of the issuing court, the duty of the reviewing court is simply to ensure that the

court had a substantial basis for concluding that probable cause existed. See Gates, 462

U.S. at 238-39 (citation omitted); see also United States v. LaMorie, 100 F.3d 547, 552

(8th Cir. 1996) (citation omitted) (“Our duty as a reviewing court is to ensure that the

issuing judge had a ‘substantial basis’ for concluding that probable cause existed, and we

owe substantial deference to the determination of probable cause by the issuing judge.”).

As to what this Court should consider when reviewing a search warrant for probable

cause, “[w]hen the [issuing judge] relied solely on the affidavit presented to him, ‘only

that information which is found within the four corners of the affidavit may be considered

in determining the existence of probable cause.’” United States v. Solomon, 432 F.3d

824, 827 (8th Cir. 2005) (citing United States v. Etheridge, 165 F.3d 655, 656 (8th Cir.


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1999), quoting United States v. Gladney, 48 F.3d 309, 312 (8th Cir. 1995)); United States

v. Smith, 581 F.3d 692, 694 (8th Cir. 2009) (quoting United States v. Reivich, 793 F.2d

957, 959 (8th Cir. 1986)).

         Here, Haynes has not identified any specific deficiencies, including the alleged

“inaccurate information and unsupported allegations” in the August 2019 Affidavit, nor

can the Court discern any after careful review. The facts in the affidavit as set forth

above, including the surveillance video showing the suspect using an iPhone in a pinkish

case to take a photograph of a Western Union receipt before apparently obtaining the

handgun used in the shooting, the interview with A.H., the identification by the CRI of a

photo of the suspect from the surveillance video as “Bad Ass,” the database showing

Haynes uses the moniker “Bad Ass,” and cell phone call records showing Haynes’ and

A.H.’s cell phones at the scene of the shooting, along with the reasonable inferences

drawn therefrom, established a sufficient nexus between the evidence sought—the

photograph of the receipt and contact information for the person believed to have brought

the handgun to the scene of the shooting—and the cell phone. To the extent Haynes

challenges the reliability of the CRI, the CRI’s identification of the suspect as “Bad Ass,”

where that moniker is recorded as belonging to Haynes, is corroborated by the interview

with A.H. and the cell phone call detail records. See United States v. Faulkner, 826 F.3d

1139, 1144 (8th Cir. 2016) (holding reliability of confidential informant “can be

established through independent corroboration”). Accordingly, based on the totality of

the circumstances, the Court concludes that the search warrant was supported by probable

cause.


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C.      Haynes’s Motion for a Franks Hearing

        Finally, in his Supplemental Motion, Haynes seeks a Franks hearing regarding the

August 2019 Affidavit. 2 (Dkt. 59 at 4-5, see Dkt. 60 (affidavit of counsel).) Haynes

argues that TFO Lepinski made a material omission, in reckless disregard of the truth, in

his allegation of facts in support of the issuance of the search warrant by failing to

disclose to the Court that he had accessed Mr. Haynes’ cell phone to change the settings.

(Dkt. 60.) The Government contends that Haynes has failed to show that the August

2019 Affidavit contained any false statements or material omissions or that statements or

omissions were made knowingly and intentionally, or in reckless disregard for the truth.

(Dkt. 62 at 4.) In addition, the Government argues that even if Haynes had shown TFO

Lepinski made a false statement that was knowingly and intentionally made, or made in

reckless disregard of the truth, he has not shown that including the fact that he changed

the phone settings in the August 2019 Affidavit would have affected the finding of

probable cause. (Dkt. 62 at 4-5.) The Court agrees.

        Pursuant to Franks v. Delaware, 438 U.S. 154 (1978), a defendant may seek a

hearing to challenge a search warrant on the ground that the supporting affidavit contains

factual misrepresentations or omissions relevant to the probable cause determination. See

United States v. Daigle, 947 F.3d 1076, 1084 (8th Cir. 2020). “However, in order to

merit a Franks hearing, a defendant must show both (1) that the affiant knowingly and

intentionally made false statements or made them in reckless disregard for the truth and


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       Haynes did not address his request for a Franks hearing in his post-hearing brief;
nevertheless, the Court addresses the request here.

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(2) if the false information is excised (or the omitted information is included), the

affidavit no longer establishes probable cause.” Id. This “requirement is not met lightly

and requires a defendant to offer specific allegations along with supporting affidavits or

similarly reliable statements.” United States v. Gonzalez, 781 F.3d 422, 430 (8th Cir.

2015) (citation omitted); see also Franks, 438 U.S. at 171 (“Affidavits or sworn or

otherwise reliable statements of witnesses should be furnished, or their absence

satisfactorily explained.”); United States v. Mathison, 157 F.3d 541, 548 (8th Cir. 1998)

(“A mere allegation standing alone, without an offer of proof in the form of a sworn

affidavit of a witness or some other reliable corroboration, is insufficient to make the

difficult preliminary showing [under Franks ].”). Moreover, “[a] Franks hearing must be

denied unless the defendant makes a strong initial showing of deliberate falsehood or

reckless disregard of the truth.” United States v. Freeman, 625 F.3d 1049, 1052 (8th Cir.

2010) (internal quotations and citation omitted) (emphasis added).

       Here, even if the Court assumed TFO Lepinski’s failure to disclose that he had

changed the settings on the phone to airplane mode and “never lock” constituted an

omission that was made intentionally and knowingly or with reckless disregard for the

truth, there is no reason to believe that learning of the change in settings would have

affected Judge Dimick’s probable cause decision. TFO Lepinski has testified that he only

changed those two settings, and Haynes has not explained how changing those settings

would have affected the likelihood that the sought-after evidence relating to the shooting

(photos and contact information) would be found on the cellular phone or any other

aspect of the probable cause finding, much less that the omission was necessary to the


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finding of probable cause. As discussed in Section II.B, supra, the Court finds ample

probable cause to support the warrant. Consequently, the Court recommends denial of

Haynes’ request for a Franks hearing on the information provided in the August 2019

Affidavit.

                            III.   RECOMMENDATION

       Based on the files, records, and proceedings herein, IT IS RECOMMENDED

THAT:

       1.    Defendant’s Motion to Suppress Search and Seizure (Dkt. 35) be DENIED;

and

       2.    Defendant’s Supplemental Motion to Suppress Search and Seizure (Dkt.

59) be DENIED; and

       3.    Defendant’s request for a Franks Hearing be DENIED.



DATED: April 27, 2020                           s/Elizabeth Cowan Wright
                                                ELIZABETH COWAN WRIGHT
                                                United States Magistrate Judge



                                         NOTICE

Filing Objections: This Report and Recommendation is not an order or judgment of the
District Court and is therefore not appealable directly to the Eighth Circuit Court of
Appeals.

Under District of Minnesota Local Rule 72.2(b)(1), “a party may file and serve specific
written objections to a magistrate judge’s proposed finding and recommendations within
14 days after being served a copy” of the Report and Recommendation. A party may
respond to those objections within 14 days after being served a copy of the objections. D.




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Minn. LR 72.2(b)(2). All objections and responses must comply with the word or line
limits set for in D. Minn. LR 72.2(c).




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